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16                               UNITED STATES DISTRICT COURT
17                              NORTHERN DISTRICT OF CALIFORNIA
18                                    SAN FRANCISCO DIVISION
19   ELECTRONIC FRONTIER FOUNDATION,                 )
                                                     )
20                               Plaintiff,          )   Case No. 17-cv-02053-JST
                                                     )   ___________
21   v.                                              )   PLAINTIFF’S REQUEST FOR
                                                     )   ENTRY OF DEFAULT
22   GLOBAL EQUITY MANAGEMENT (SA) PTY               )
     LTD,                                            )   Next Hearing: November 16, 2017
23                                                   )   Time: 2:00 p.m.
                                 Defendant.          )   Place: Courtroom 9, 19th Floor
24                                                   )
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     PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT
     Case No. 17-cv-02053-JST
           Case 4:17-cv-02053-JST Document 35 Filed 11/10/17 Page 2 of 2


 1            Plaintiff Electronic Frontier Foundation respectfully requests that the Clerk of the Court
 2   enter default pursuant to Federal Rule of Civil Procedure 55(a) against Defendant Global Equity
 3   Management (SA) Pty Ltd., for failure to plead or otherwise defend, as established in the attached
 4   declaration of Matthew E. Kelley.
 5   DATED: November 10, 2017               Respectfully submitted by:
 6
                                                   s/ Matthew E. Kelley
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21                                          Electronic Frontier Foundation

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     PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT
     Case No. 17-cv-02053-JST
